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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                    CRIMINAL MINUTES - GENERAL


   Case No.      CR 21-00485 DSF                                                 Date      June 26, 2023
   Present: The Honorable       DALE S. FISCHER, UNITED STATES DISTRICT JUDGE
   Interpreter     N/A
                                                                                   Michael J. Morse,
                                                                                 Lindsey Greer Dotson,
                 Patricia Kim                      Pat Cuneo                     Thomas F. Rybarczyk
                 Deputy Clerk                  Court Reporter                    Assistant U.S. Attorney


   U.S.A. v. Defendant(s):       Present   Cust.    Bond       Attorneys for Defendants:     Present App. Ret.

                                                           Galia Z. Amram                        √                √
1) Mark Ridley-Thomas              √                  √    Ramsey W. Fisher                      √                √’
                                                           Daralyn J Durie                       √                √
     Proceedings:     MOTION HEARING (Held and Completed)

     DEFENDANT MARK RIDLEY-THOMAS’S MOTION FOR A JUDGMENT OF
 ACQUITTAL PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 29 [257, 359]

         DEFENDANT MARK RIDLEY-THOMAS’S MOTION FOR NEW TRIAL [360]

         The matter is called and counsel state their appearances.

       The Court questions counsel as stated in court and on the record on the motions and invites
 counsel to present their oral arguments. Arguments by counsel are heard. The motions are taken under
 submission. A written order will follow.




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